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                        UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION


     Baby Doe et al.,

                   Plaintiffs,
                                                              Civil Action No. 3: 22-cv-49
     v.

     JOSHUA MAST et al.,

                   Defendants,
     and

     UNITED STATES SECRETARY OF STATE
     ANTONY BLINKEN et al.,

                  Nominal Defendants.


                                            ORDER

           Upon review of the Unopposed Motion to Further Extend Defendants’ Deadline to

    Respond to Amended Complaint submitted by nominal defendants United States Secretary

    of State Antony Blinken and United States Secretary of Defense General Lloyd Austin

    (“Federal Defendants”), and for good cause shown, it is

           ORDERED that Federal Defendants’ Motion is GRANTED; it is further

           ORDERED that Federal Defendants’ deadline to respond to Plaintiffs’ Amended

    Complaint is hereby extended up to and including January 9, 2023.

           SO ORDERED.

           Entered: 11/22/22                                                          _
                                                               Judge Joel C. Hoppe
                                                                             Hop
                                                                               ppe
